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Case 3:22-cv-00479-TSL-MTP Document 61-6 Filed 11/07/22 Page 3 of 29

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Case 3:22-cv-00479-TSL-MTP Document 61-6 Filed 11/07/22 Page 4 of 29

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January 29, 2021

To: John Newton, Chief of The Lexington Police Department
207 Tchula Street
Lexington, MS 3905

RE.: Complaint

Dear Chief Mr. Newton,

I was brought to your department involuntarily by Derrick Scott. Mr. Scott and I got into an
argument regarding the safety of our son. He did not have a car seat for our 2 yrs.oldson.I _
attempted to remove our son from the vehicle and he drove off with me, leaving my home open
and unoccupied. Mr. Scott had a loaded shot gun and empty alcohol bottles located in the
vehicle. He drove to the station with my son in his lap while talking on the phone. I asked Mr.
Scott to take us back home but he refused. My son could have easily accessed the weapon. Mr.
Scott arrived at the station approaching an officer asking who was on duty. The officer provided
the names of the officers on duty. Mr. Scott requested a specific officer named Officer Reed.
This indicated to me that he was looking for some type of favor.

Mr. Scott walked to the back of the station where Officer Reed was located. I was directed by
another officer to attend the meeting. However, Mr. Scott walked out with my son. I explained to
Officer Reed what the issue was and presented the alcohol bottle. I asked Officer Reed not to
allow him to leave with my son without car seat. Officer Reed stated to me that he cannot micro-
manage our relationship. I was confused by this statement because my son’s safety was the issue
not my relationship. Officer Reed got personal with me and advised me to give Mr. Scott my car
seat. I told him that he should have his own. Officer Reed continued to discuss my relationship
instead of executing his job. There were three officers present and no one tried to stop him. He
was judging me while Mr. Scott was driving off with my son without a car seat. I felt judged as
a woman. The officers displayed a bias towards me. Mr. Scott breaks the law and is never
confronted.
Case 3:22-cv-00479-TSL-MTP Document 61-6 Filed 11/07/22 Page 5 of 29

I am court ordered to meet at the police station which is pointless if justice going to be one
sided.

I felt attacked. A similar situation happened last year at the station where Mr. Scott drove up
without a car seat. Mr. Scott asked me about child support and when I did not give him the
response he wanted he became upset and tried to force his way in my car to take my car seat.
Officer March pulled up and I informed him what was going. He was rude and told me to get
out of his drive way. I told him I was court ordered to meet there and he stated, “he did not care
what the judge ordered”. Mr. Scott placed my baby on the front seat and later pulled a car seat
out from his truck. Officer March got aggressive with me and told Derrick Hodges, Fire Chief to
give me a complaint form so I can get out. He disrespected me while the other officers turned a
death ear. I thought he was going to hit me or something.

On January 29, 2021 Derrick Hodges, Fire Chief recalled this incident but had a different
version. According to his version, he saw Mr. Scott get the car seat out of his truck but I assume
he turned a blind eye to him pulling on my door. I assume he turned a death ear to him asking me
about child support. I felt offended because he judged the situation based what he saw on camera
but not what was actually happening in reality. Before taking sides he needed to hear and see.
The judge court ordered us to meet there with the idea that this would be the safest place; where
there will be honest and impartial individuals to handle any altercation without bias. However, I
have experienced the opposite. I have been judged, disrespected, and treated unfairly. The
bottom line is my son’s safety was at risk and he was not protected because of Mr. Scott’s
relationship with this department. Mr. Scott is not above the law regardless of any relationship he
may have with his department. I will be treated fairly and I am requesting a timely response in
writing regarding this matter.

If you have any questions, or concerns I can be reach at 769-232-8058 and
dominiquebullocks@yahoo.com
Respectfully,

Dominique Bullocks
Case 3:22-cv-00479-TSL-MTP Document 61-6 Filed 11/07/22 Page 6 of 29

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Lexington Police Department

Public Complaint Form

Date Complaint filed: _/ - 27 - -Zazf Public Official’s name: _© tier aarsh

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Lexington Police Department

Public Complaint Form

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Case 3:22-cv-00479-TSL-MTP Document 61-6 Filed 11/07/22 Page 8 of 29

Wilson

Mon, Mar 8, 2021 3:40 pm
Derrick Wilson (mdot1348@gmail.com)

Mayor,Board, and all administrators, | am Alderman Derrick Wilson Tchula MS. Your
officer Markus March is harassing me because he got himself fired in Tchula. | came
through the road block with no issues. | returned to the same road block and he had me
to pull to the side and ask to see my license and insurance. | gave him my license and
pulled my insurance up in my email gave him my phone. He returns with a citation. | had
my Alderman decals on my 2020 2500 Dodge Ram. The incident was an
embarrassment because the people coming through se an elected official pulled over
and assume | am breaking the laws | preach to my citizens to follow. | asked the officer
what the ticket was for because he had my insurance. He replied sarcastically “See you
in court! I’m not the judge” Now if | didn’t have my credentials then yes give me my
citation, but | feel like this is his payback. Being pulled over and given a bogus citation is
harassment. | will be coming over to file a complaint. What he did would intimidate
some but not me because | know my rights. | also spoke to Chief Newton and Cheif
Deputy March with the county because March was being rude, disrespectful, and petty
for his own personal reasons. He was unprofessional and his harassment was not
warranted.

Sent from my iPhone
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Case 3:22-cv-00479-TSL-MTP Document 61-6 Filed 11/07/22 Page 9 of 29
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Lexington Police Department

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Lexington Police Department

Public Complaint Form

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REQUEST OF AGENDA
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City of Lexingtiin
112 Spring Street
Lexington, MS 39095
. 662-834-1261

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City of Lexington
BOARD MEETS EVERY i" TUESDAY OF EACH MONTH; REQUEST MUST BE IN BY -
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REQUEST OF AGENDA

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Lexington Police Department

Public Complaint Form

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Case 3:22-cv-00479-TSL-MTP Document 61-6 Filed 11/07/22 Page 16 of 29

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Chief of Police: _

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Complainant’s Signature:

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Lexington Police Department

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Public Complaint Form

Date Complaint filed: 8 ~ 4 Zl Public Official’s name:

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City of Lexington

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BOARD MEETS EVERY i" TUESDAY OF EACH MONTH; REQUEST MUS
12 NOON FRIDAY BEFORE THE 1°" TUESDAY.

REQUEST OF AGENDA
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Lexington, MS 39095
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City of Lexington i :

12. NOON FRIDAY BEFORE THE 1°T TUESDAY. ~

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3 Case 3:22-cv-00479-TSL-MTP .Document 61-6 Filed 11/07/22 Page 20 of 29

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RESOESS OF AGENDA

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Requestor’ 's Signature: Hay Blut 6 Date: Le 202 ‘

Please submit this. ae to:

City of Lexington
112 Spring Street
Lexington, MS 39095

. 662-834-1261

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Lexington Police Department

Public Complaint Form

Date Complaint filed: B- ae 2 6 2/ Public Official’s name:

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cat: (ob) 99-2709

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City of Lexington |

BOARD MEETS EVERY 1" TUESDAY OF EACH MONTH; REQUEST 0 BY’.
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Requestor’s Signature:

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Please submit this request to:

City of Lexington
112 Spring Street :
Lexington, MS 39095

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Lexington Police Department

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Public Complaint Form
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Public Complaint Form
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Case 3:22-cv-00479-TSL-MTP Document 61-6 Filed 11/07/22 Page 26 of 29

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Lexington Police Department

Public Complaint Form

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Lexington Police Department

Public Complaint Form.

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| S 5 Oy pia Robin MeGrory “lexingtonmsmayor@aqmall.coni>

pwain Pelinson édwainpelinson@gmall com> Fri, Jan 28, 2022 at 9:26 AM
To: Lexingtonmsmayor@gmall.cari

| was working for Lexington police department and the chief Sam dobbins sent me on a fake call looking for a emu bird all night then got mad cause | couldn't find it and | took my
employment paper to city hall and he made the statament he fun elty hall and left because | don't appreciate the way he falk to me as a employee of his

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